Mark A. Berman, Esq.
HARTMANN DOHERTY ROSA
BERMAN & BULBULIA LLP
433 Hackensack Avenue, Suite 1002
Hackensack, New Jersey 07601
t: 201-441-9056
Counsel of Record for Movants
Express Scripts, Inc. & Accredo Health Group, Inc.

                                                      UNITED STATES DISTRICT COURT
 JOHNSON & JOHNSON HEALTH CARE                       FOR THE DISTRICT OF NEW JERSEY
 SYSTEMS, INC.,
                                                         Civil No. 22-2632 (JKS) (CLW)
                      Plaintiff,

 – vs –

 SAVE ON SP LLC,

                      Defendant.



          MOVANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO INTERVENE




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                                PRELIMINARY STATEMENT

       Plaintiff Johnson & Johnson Health Care Systems, LLC’s (“JJHCS”) Opposition attempts

to thwart this Court’s ability to apply Rule 15’s gatekeeping factors. JJHCS does so by relying on

stale standing cases, contradicted by more recent Supreme Court precedent, and by

mischaracterizing discovery issues that have no relevance here. Movants Express Scripts, Inc.

(“Express Scripts”) and Accredo Health Group, Inc. (“Accredo”) have properly moved to

intervene. They do not need standing to assert proper, evidence-based arguments that the Proposed

Amended Complaint is improper under Rule 15. Of course, JJHCS would prefer that Movants be

silenced at this stage. But the Federal Rules and caselaw implementing those rules instruct that

courts must consider issues such as undue delay and futility in connection with a motion under

Rule 15. And it is Movants who are uniquely able to show this Court why JJHCS’s proposed

amendment is the product of over six years of undue delay; how it is borne of bad faith – as

demonstrated by numerous contradictory statements JJHCS has made before this and other courts

– and dilatory tactics; how it will prejudice Movants; and how it will harm judicial economy.

       JJHCS’s Opposition points to no authority for shielding the Court from this evidence in

connection with JJHCS’s Rule 15 motion. The Court therefore should grant Movants’ Motion.

I.     MOVANTS DO NOT NEED STANDING TO INTERVENE

       JJHCS’s lead argument is that Movants lack standing to intervene. This argument

misunderstands standing as applied to intervention. “[S]o long [as] there is a case or controversy

[already] before the court, it is not necessary that an intervenor have independent standing.” King

v. Christie, 981 F.Supp.2d 296, 309 (D.N.J. 2013) (Wolfson, J.). This is because “Rule 24 aims to

promote the efficient and orderly use of judicial resources by allowing persons to participate in the

lawsuit to protect their interests or vindicate their rights . . . Imposing standing on an intervenor

would eviscerate Rule 24’s practical approach.” Id. JJHCS’s argument that Movants must


                                                 1
independently establish standing fails to cite controlling Supreme Court precedent, Town of

Chester, N.Y. v. Laroe Estates, Inc., 581 U.S. 433 (2017), which held that intervenors must only

show standing in limited circumstances not applicable here.1

       Necessarily, then, the cases on which JJHCS relies do not preclude intervention here.2

Those cases stand only for the unremarkable proposition that proposed defendants, who were not

parties and had not sought leave to intervene, could not file oppositions to a party’s Rule 15 motion.

See, e.g. Bolinger v. RMB, Inc., 2023 WL 2612259, at *2 (D.N.J. Mar. 21, 2023). Obviously, non-

parties may not make filings before courts without leave of court. That is why Movants moved to

intervene. And, when proposed defendants properly move to intervene to oppose a Rule 15 motion

to add them as defendants, courts routinely permit those proposed defendants to intervene without

establishing standing. See, e.g., Auto-Owners Ins. Co. v. Tabby Place Homeowners Ass’n, Inc.,

2022 WL 17327497, at *1 (S.D. Ga. Nov. 29, 2022); Cooley v. Lisman, 2019 WL 11288454, at *3

(D.N.J. Feb. 28, 2019); Innovative Biometric Tech., LLC v. Lenovo (United States), Inc., 2010 WL

11447532, *1 (S.D. Fla. Sept. 10, 2010).

       The law is clear. When a party – like JJHCS – moves to amend its complaint to add new,

proposed defendants, those proposed defendants – such as Movants – may seek to intervene to




1
  As the Supreme Court recently explained, intervenors only need standing if they seek to assert
claims for relief “that is different from that which is sought by a party with standing.” Town of
Chester, 581 U.S. at 440; accord Wayne Land & Mineral Grp, LLC v. Delaware River Basin
Comm’n, 959 F.3d 569, 574 (3d Cir. 2020). Because Express Scripts and Accredo do not seek any
relief “different from” JJHCS or SaveOn, standing is not required for intervention.
2
 Only one case JJHCS cites supports its claim that intervenors need standing, but that case predates
contradictory Supreme Court precedent. Compare Snellink v. Universal Travel Grp, Inc., 2015
WL 12818829, at *6 (D.N.J. Nov. 4, 2015) with Town of Chester, 581 U.S. at 440 and Wayne
Land & Mineral Grp, LLC, 959 F.3d at 574.
                                                  2
oppose such a motion. Despite JJHCS’s protest, proposed defendants that do not seek different

relief from existing parties – such as Movants – need not independently establish standing.

II.    THERE ARE VALID RULE 15 ARGUMENTS ONLY MOVANTS CAN MAKE

       In JJHCS’s view, no one can argue that its proposed claims against Movants are improper

under Rule 15. But Rule 15 serves an important gatekeeping function: courts and litigants should

not be burdened by invalid amendments, and parties should not exploit Rule 15 for tactical

advantage. The Supreme Court has therefore long instructed that amendments should be denied

where there is “undue delay, bad faith or dilatory motive on the part of the movant . . . [,] undue

prejudice to the opposing party . . . [or] futility of amendment.” Foman v. Davis, 371 U.S. 178,

182 (1962). The Third Circuit considers additional equities, including judicial economy. Mullin v.

Balicki, 875 F.3d 140, 149-50 (3d Cir. 2017).

       A.      Movants Have Valid Arguments Regarding Undue Delay, Bad Faith, Dilatory
               Tactics, Prejudice, and Judicial Economy

       JJHCS seeks to squash Movants’ Rule 15 arguments against JJHCS’s motion to amend

before Movants have even made them. Importantly, undue delay and prejudice are not arguments

Movants can present in a Rule 12(b)(6) motion. Movants therefore will be prejudiced if not

permitted to intervene for purposes of opposing JJHCS’s Rule 15 Motion. If Movants are permitted

to intervene, Movants will present their full arguments and evidence to the Court in opposition to

the Rule 15 motion. For now, however, Movants offer a summary of the key arguments.

               1.      JJHCS Acted with Undue Delay

       The undue delay inquiry asks why a movant did not seek to amend sooner and consider

“whether new information came to light or was available earlier.” Ford Motor Co. v. Edgewood

Prop. Inc., 2011 WL 1321605, at *2 (D.N.J. Apr. 4, 2011) (quoting In re Adams Gold, Inc. Secs.

Litig., 381 F.3d 267, 280 (3d Cir. 2004)) (quotation marks omitted). This is because “[t]he function


                                                 3
of Rule 15(a) . . . is to enable a party to assert matters that were overlooked or were unknown at

the time [of] . . . the original complaint.” Garrett v. Wexford Health, 938 F.3d 69, 82 (3d Cir. 2019)

(quotation omitted). Thus, where “[m]ost of the facts were available to [a] plaintiff . . . before she

filed her original complaint,” a court is well within its discretion to deny a motion to amend. Lorenz

v. CSX Corp., 1 F.3d 1406, 1414 (3d Cir. 1993).

         JJHCS has known of Express Scripts’ and Accredo’s work relating to the SaveOn product

since at least 2017. Indeed, the Court has already found that JJHCS has known about the SaveOn

product since 2017. Op. & Order, ECF No. 192, at 14. But what Movants would present to the

Court, were they permitted to intervene, is substantial documentary evidence of just how much

detail JJHCS knew in 2017.

         Johnson & Johnson (“J&J”), of which JJHCS is a wholly owned subsidiary,3 is an Express

Scripts client, and in 2017-2018 was exploring whether to implement SaveOn to benefit its own

insurance plan (in which JJHCS members have participated). See Decl. of Mark Berman at Exs.

A, B, & C. Throughout 2017 and into 2018, Express Scripts provided J&J with information about

SaveOn, including aspects of it that the Complaint (and Proposed Amended Complaint) paint as

tortious. For example, on June 15, 2017, Express Scripts provided J&J with a summary:

         “SaveonSP works directly with interested clients to . . . maximize the use of available
         copay assistance funds provided by manufacturers. Specifically, [SaveOn] utilizes plan
         design changes to exclude select drugs as non-essential health benefits and assistance
         programs to reduce overall plan and member costs.”

Id. at Ex. A (emphasis supplied). Thus, by June 2017, JJHCS knew that SaveOn worked with

Express Scripts to offer the SaveOn product to clients and that the SaveOn product worked through

plan design changes, designating certain drugs as non-essential health benefits.




3
    ECF No. 2.
                                                  4
       On August 30, 2017, Express Scripts made a presentation to J&J. Berman Decl. Ex. B at

23-27. Express Scripts explained the SaveOn product, including the two elements of what is now

alleged to be a tortious “scheme”: (1) changing the plan design regarding Affordable Care Act

benchmarks and (2) targeted outreach to patients to convince them to enroll in SaveOn. See ECF

No. 192 at 3 (describing “elements” of alleged scheme).

       The PowerPoint deck for the August 30, 2017 meeting contains 5 slides dedicated solely

to SaveOn. In a summary description, the deck states, “Manufacturers [like J&J] make funds

available to assist patients with their share of the cost. $0 copay for enrolled J&J members.” Id. at

15. Another slide provides detail: “Utilizes Affordable Care Act (ACA) state benchmark to change

client plan design.” Id. at 24 (emphasis original). A later slide illustrates how SaveOn captures

copay assistance funds to eliminate member out-of-pocket cost and ultimately lower plan costs.

Id. at 25. The slides then explain how Express Scripts would reach out to patients, including “Claim

is rejected at retail” – an aspect of the product that JJHCS now claims is deceptive. Compare id.

at 27 with Compl. ¶ 13. Thereafter, J&J received “[u]pdated SaveOn program modeling” on

February 6, 2018 and details about enrollment in SaveOn among Express Scripts clients. See

Berman Decl. at Ex. C.

       In short, JJHCS’s delay not only encompasses the nearly two years between its Complaint

and Proposed Amended Complaint – which alone could be sufficient delay in context to deny

JJHCS’s Motion. See Lorenz, 1 F.3d at 1406 (affirming denial of motion to amend where plaintiff

knew “[m]ost of the facts” before filing original complaint); see also StrikeForce Techs, Inc. v.

PhoneFactor, Inc., 2015 WL 3793726 (D. Del. May 26, 2015) (holding delay was undue where

plaintiff “waited almost twenty-two months” after learning key fact “and almost nineteen months

after filing its initial complaint” to seek to amend). JJHCS’s delay encompasses the six-plus years



                                                 5
between when JJHCS learned of SaveOn operational details – and Express Scripts’ and Accredo’s

involvement – and when JJHCS sought to sue Movants. The delay is therefore more than undue.

               2.      JJHCS Has Acted with Bad Faith and Dilatory Tactics

       “The question of undue delay, as well as the question of bad faith, requires that we focus

on the plaintiffs’ motives for not amending their complaint . . . earlier[.]” Adams v. Gould Inc.,

739 F.2d 858, 868 (3d Cir. 1984); accord Abadi v. Quick Chek Corp., 2023 WL 3983879, at *3

(D.N.J. June 13, 2023) (“[T]he question of bad faith focuses on a party’s motives for not amending

its pleadings sooner.”). The more time that has elapsed, the greater scrutiny a court focuses on the

movant’s motives. See Block v. First Blood Assocs., 988 F.2d 344, 350 (2d Cir. 1993). Indeed,

some courts go so far as to shift the burden, “when considerable time has elapsed,” to the movant

to “show[] some valid reason for his neglect and delay.” In re Lombardo, 755 F.3d 1, 3 (1st Cir.

2014) (Souter, J.). Courts “will deny a motion to amend where the movant’s unexplained delay

suggests bad faith or tactical design. Undue delay which is not satisfactorily explained is equivalent

to bad faith.” Phillips v. Borough of Keyport, 179 F.R.D. 140, 149 (D.N.J. 1998) (Wolfson, J.).4

       JJHCS claims it is seeking to add Movants as defendants at this stage because it has

“learned material information during discovery” that alerted it to Movants’ respective “substantial”

roles relating to the SaveOn product. ECF No. 228 at 1-2. This is impossible to square with the

2017 evidence of Express Scripts sharing information about SaveOn. See Berman Decl. at Exs. A

& B. Nor does it comport with this Court’s finding that JJHCS had knowledge in 2017. Op. &

Order, ECF No. 192, at 14.




4
 Accord Adams, 739 F.2d at 868 (“[D]elay can itself be evidence of bad faith justifying denial of
leave to amend.”); Dalal v. Molinelli, 2022 WL 16362459, at *3 (D.N.J. Oct. 28, 2022) (“If the
movant fails to explain the delay . . . the Court may find such delay to be tactical and thereby
undue.”).
                                                  6
        More gravely, JJHCS’s claim contradicts statements it has made to this Court and to courts

in Missouri and Tennessee. For example, the Complaint alleges that “SaveOnSP advertises and

administers its program . . . in partnership with . . . Express Scripts . . . and . . . Accredo.” Compl.

¶ 28. And JJHCS repeated such claims before other courts nearly a year ago. It told a federal court

in Missouri on May 22, 2023 that “[s]ince 2016, SaveOnSP has worked exclusively with ESI, and

ESI actively markets SaveOnSP’s services” and that “ESI played a critical role in this scheme.”

ECF No. 7 at 3, 2, Johnson & Johnson Health Care Sys., Inc. v. Express Scripts, Inc., No. 4:23-

mc-00527-SEP (E.D. Mo.). It asserted to a federal court in Tennessee on May 25, 2023 that

“Accredo . . . is integral to this scheme along with . . . Express Scripts.”5 ECF No. 25 at 2, Johnson

& Johnson Health Care Sys., Inc. v. Save On SP, LLC, No. 2:23-mc-00019-JTF-tmp (W.D. Tenn.).

        JJHCS’s claim that only recent discovery opened its eyes also conflicts with a wealth of

public information about SaveOn. JJHCS cites some of it in its Complaint, and there can be no

doubt that reasonable diligence by JJHCS would have turned up these sources long before 2024.

Indeed, JJHCS had found at least some of these sources by May 2022. For example, the Complaint

cites extensively to a “SaveOnSP IPBC Video” which details the SaveOn product, references

Accredo’s involvement, and states Express Scripts is “at the core of this.” See, e.g., Compl. ¶¶ 9,

11, 14, 19-20, 25, 53-56, 58, 60-62 (transcript attached to Berman Decl. as Ex. D).

        JJHCS’s claimed reason for seeking to add Movants as defendants now simply does not

pass muster. There is a more reasonable explanation for JJHCS’s motion – that JJHCS was

dissatisfied with Rule 45’s limitation on third-party discovery from Movants. After the Tennessee

court rebuffed JJHCS’s overbroad requests by granting its motion to compel only in part, Accredo




5
 JJHCS’s memorandum in support of its motion to compel before the Tennessee court remains
under seal. Express Scripts and Accredo therefore cite to the court order in that action.
                                                   7
proceeded to make productions from an agreed-upon set of custodians. However, JJHCS was not

satisfied, demanding Accredo add another custodian. See Berman Decl. Ex. E. Explaining that

Movants had already invested over $650,000 in responding to third-party subpoenas, Accredo

sought to meet and confer regarding fee-shifting under Rule 45. See id. at Ex. F. Just one week

later, JJHCS sought to add Movants as defendants. Given JJHCS’s acknowledged, long-standing

knowledge of Movants’ roles relating to the SaveOn product, it appears much more likely that

these recent events relating to JJHCS’s third-party discovery efforts and seeking to strip Movants

of the protections of Rule 45 is driving JJHCS’s Motion seeking to add Movants as defendants.

This much JJHCS’s Opposition concedes, acknowledging that it intends to seek still further

discovery from Movants if the Court permits JJHCS to add Movants as defendants.

       In sum, information shared in 2017, statements JJHCS has made to three courts, and

publicly available information all undercut JJHCS’s claim that information learned in discovery is

the basis of its attempt to add Movants as defendants. That evidence suggests, to the contrary, that

JJHCS’s Motion is the product of bad faith and dilatory tactics. This Court should grant Movants’

Motion so that it may consider such evidence of this bad faith and dilatory tactics.

               3.      The Amendment Will Prejudice Express Scripts and Accredo

       Prejudice is the touchstone for the denial of an amendment. Lorenz, 1 F.3d at 1414. A

finding of substantial or undue prejudice is sufficient ground for denial. Cureton v. Nat’l Collegiate

Athletic Ass’n, 252 F.3d 267, 273 (3d Cir. 2001). Courts therefore consider “whether allowing an

amendment would result in additional discovery, cost, and preparation.” Id. “[T]he longer the

period of unexplained delay the less will be required . . . to show prejudice.” Advocat v. Nexus

Industries, Inc., 497 F.Supp. 328, 331 (D. Del. 1980). Trial courts therefore “articulate the

imposition or prejudice caused by the delay, and to balance those concerns against the movant’s

reason for delay.” Coventry v. U.S. Steel Corp., 856 F.2d 514, 520 (3d Cir. 1988).
                                                  8
       Given the more than six-year delay, very little is required to establish prejudice.

Nevertheless, the amendment would significantly prejudice Movants. Although Movants have

already spent significant time and money responding to JJHCS’s third-party subpoenas, that

investment pales in comparison to what would be required of them were they to become

defendants. JJHCS has made it clear: discovery would largely start again. See Opp. at 9 n. 3

(“JJHCS intends to take further discovery from Express Scripts and Accredo”). Moreover, motion

practice would also begin again. Movants would be required to address the various legal flaws in

JJHCS’s complaint – including that its claims are time-barred.

       An amendment that requires the reopening of discovery will be considered more prejudicial

than one that presents only a new issue of law. Phillips, 179 F.R.D. at 144. The deadlines for

interrogatories and document requests have already passed, and the deadline for fact discovery has

been extended several times and is currently set for April 25, 2024. ECF No. 177. While neither a

dispositive motion deadline nor a trial date have been set in this matter, amendment would likely

result in additional contentious discovery issues. See Smart Pharmacy, Inc. v. Medco Health Sols.,

Inc., 2014 3735344, at *4 (D.N.J. July 29, 2014) (denying leave to amend the complaint two years

after a prior amendment because “countless discovery issues would result by virtue of the

amendment”). Thus, any amendment will prohibit a timely resolution of this action. Singh v. Twp.

of Weehawken, 2023 WL 3119792, at *3 (D.N.J. Apr. 27, 2023) (finding a delay of two and a half

years would prejudice defendant by requiring additional discovery, costing significant time and

money, and “would upend their expectations in a reasonably timely resolution”).

       This additional burden of discovery and motion practice is more than sufficient prejudice

to torpedo the motion to amend, especially in light of JJHCS’s six-year delay.




                                                9
               4.     The Amendment Will Harm Judicial Economy

       Courts in the Third Circuit also consider judicial economy as an independent factor under

Rule 15: “judicial efficiency and effective case management.” Mullin, 875 F.3d at 149. It is not

sufficient to tally the work the court has already conducted, although “certainly salient”; the key

is “whether future management of the case would encounter similar difficulties.” Id. at 158. See

also Laber v. Long View R.V., Inc., 454 F. Supp. 3d 158, 172 (D. Conn. 2020) (denying amendment

in part where “the parties have engaged in extensive motion practice and . . . multiple discovery

disputes” and the amendment would “essentially re-start the pleading process”).

       The twenty-two months since this litigation’s inception have been contentious – so much

so as to necessitate the appointment of a Special Master. See ECF No. 184 at 2 (“it suffices to say

that the parties’ disputes have been frequent and complex . . . [T]he disputes show no sign of

slowing, and the Court foresees that this case will continue to demand a level of intensive,

individualized case management that is simply not sustainable.”).

       As set forth supra, JJHCS’s amendment would start a new round of discovery, related

motion practice, and dispositive motions. For example, Movants intend to move to dismiss on

several issues including statute of limitations grounds. Should that motion be unsuccessful, and as

JJHCS acknowledges, the parties would certainly conduct discovery. The proposed amendment

would thus substantially burden the Court and should be denied.

       B.      SaveOn Cannot Adequately Raise These Arguments

       SaveOn cannot adequately raise all of the Rule 15 arguments set forth above. Most of these

arguments have their basis in communications in which SaveOn did not participate. Moreover, it

is unclear that SaveOn may assert arguments on Express Scripts’ and Accredo’s behalf in the first

place. Cf. Conrad v. Lopez De Lasalle, 2023 WL 4534110, at *4 (D.N.J. July 12, 2023) (existing

parties lack standing to assert futility argument for proposed new defendants).

                                                10
       SaveOn has full access to the filings here, to some of the JJHCS’s filings before the

subpoena courts, and to the publicly available materials cited supra. From there, however, SaveOn

is hampered by information asymmetry. It was Express Scripts, not SaveOn, that was party to the

various emails and presentations detailing the SaveOn product to J&J in 2017 and 2018. And it is

Express Scripts and Accredo that were parties to third-party discovery meet-and-confers with

JJHCS. Movants are thus far better positioned to proffer and explain this critical evidence, and

SaveOn cannot adequately make Express Scripts’ and Accredo’s arguments on these points.

       JJHCS insists that “[t]he only ‘prejudice’ flowing from a denial of the motion to intervene

is that Express Scripts and Accredo lose the opportunity to make Rule 12(b)(6) arguments twice.”

Opp. at 18. This is plainly not so. Movants would lose the opportunity to make the majority of

Rule 15 arguments and the Court would lose the opportunity to evaluate them.

III.   MOVANTS ARE ENTITLED TO ASSERT FUTILITY

       JJHCS’s logic would also prevent the Court from hearing any futility arguments about the

claims JJHCS seeks to level against Movants. See Opp. at 4, 17. However, the law is clear that

courts weighing whether to permit amendments under Rule 15 should consider whether proposed

claims are futile. See, e.g., Foman, 371 U.S. at 182. JJHCS improperly equates futility and

12(b)(6). Although the futility analysis is very similar to a 12(b)(6) analysis, it sets a higher bar

for opposing an amendment: “the newly asserted defense [must] appear to be sufficiently well-

grounded in fact or law that it is not a frivolous pursuit.” Harrison Bev. Co. v. Dribeck Importers,

Inc., 133 F.R.D. 463, 469 (D.N.J. 1990) (emphasis added). Because the standards are not identical,

Movants intend to raise only one futility argument that JJHCS’s claims against Movants are time-

barred, reserving other arguments for a potential 12(b)(6) motion.




                                                 11
        JJHCS asserts three claims against Movants, all of which have a limitations period of, at

most, six years. See N.J.S.A. 2A:14-1.6 Thus, if JJHCS’s claims accrued before March 14, 2018,

their claims against Movants in JJHCS’s Proposed Amended Complaint are time-barred.

        The Court would not need to resort to the substantial evidence of knowledge in 2017 to

decide as much. The Proposed Amended Complaint asserts that the SaveOn “scheme” began in

2016. Compl. ¶ 2. It is thus futile as untimely on its face. See Arab African Int’l Bank v. Epstein,

10 F.3d 68, 175 (3d Cir. 1993) (affirming denial of motion to amend because untimeliness made

it futile). JJHCS cannot save its claims with the discovery rule or related tolling doctrines, because

it has failed to plead any such doctrines. Lockhart v. Dorrance Pub. Co., Inc., 2023 WL 157323,

at *5 (D.N.J. Jan. 11, 2023) (Wolfson, J.) (dismissing claim for failure to plead “‘sufficient factual

matter’ . . . to infer that discovery may . . . keep alive [its] otherwise untimely claims.”) (quotation

omitted). JJHCS also told the Missouri federal court that “[s]ince 2016, SaveOnSP has worked

exclusively with ESI.” Mem. in Supp. of Mtn. to Compel, ECF No. 7, at 3; Medley v. Atlantic

Exposition Servs, Inc., 550 F.Supp. 3d 170, 184 (D.N.J. 2021) (taking judicial notice of filing in

another forum and dismissing claim as time-barred). Finally, this Court previously found that

“Plaintiff . . . knew of the SaveOnSp Program since 2017.” Op. and Order, ECF No. 192 at 14.

        As JJHCS admits, SaveOn lacks standing to make this important argument. Opp. at 15. As

a matter of law, SaveOn thus cannot adequately represent Movants’ interest in opposing JJHCS’s

Rule 15 Motion. See Fed. R. Civ. P. 24(a)(2). This is sufficient to meet Rule 24’s requirements.

Movants need not show “adversity of interest, collusion, or nonfeasance,” as JJHCS incorrectly




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  Claims of conspiracy and aiding and abetting have the same limitations period as the underlying
torts. See Daruwala v. Merchant, 2015 WL 6829646, at *12 (N.J. Super. Ct. App. Div. Nov. 9,
2015); State, Dep’t of Treasury, Div. of Inv. ex rel. McCormac v. Qwest Comms Int’l, Inc., 387
N.J. Super. 469, 904 A.2d 775, 784 (App. Div. 2006).
                                                  12
argues. Opp. at 16 (quotation omitted). Multiple federal Courts of Appeal have explained, that list

is not exclusive. See Texas v. U.S., 805 F.3d 653, 661 n.5 (5th Cir. 2015); Daggett v. Comm’n on

Gov. Ethics & Elec. Practices, 172 F.3d 104, 111 (1st Cir. 1999); accord 7 C. Wright & Miller,

Federal Practice & Procedure § 1909 (3d ed. 2019) (“The wide variety of cases that come to the

courts make it unlikely that there are . . . only three circumstances that would make representation

inadequate and suggest that adequacy of representation is a very complex variable.”).

       JJHCS’s interpretation that any new defendant a party seeks to add by way of amended

complaint cannot argue against such amendment would read futility out of the jurisprudence

whenever an amended complaint seeks to add new defendants, contravening decades of case law.

See, e.g., Foman, 371 U.S. at 182 (interpreting Rule 15 to require a futility analysis). In addition,

JJHCS’s view would create inefficiency: other Rule 15 arguments are before the Court now, and

there is no reason why the Court should have to ignore futility as to Movants, only to face

substantially the same argument in a dispositive motion. It is far more efficient for the Court to

hear all arguments against the amendment now, as decades of jurisprudence clearly intend.

IV.    THE COURT SHOULD GRANT INTERVENTION

       Movants have a right to intervene: They have significant interests in the litigation that they

alone can protect. See Mountain Top Condo. Ass’n v. Dave Stabbert Master Builder, Inc., 72 F.3d

361, 365-366 (3d Cir. 1995). First, Movants have an interest in the prospect of being added to this

litigation. JJHCS relies on McGrath v. Pediatrics, 2022 WL 19521726 (D.N.J. Aug. 12, 2022) for

the contrary position. Opp. at 7. McGrath, however, is not inconsistent with intervention here —

Movants do not seek to intervene to raise defenses that could more appropriately be addressed at

the motion to dismiss stage. See id. at *3. Rather, they seek to raise arguments that can only be

raised in opposition to a Rule 15 motion. Further, McGrath appears to be an outlier:



                                                 13
       Courts have held … that the prospect of being added to a lawsuit in an amended
       complaint is a sufficient ‘interest’ … and that disposing of a motion for leave to file
       an amended complaint without allowing prospective defendants to respond would
       ‘impair or impede’ their ability to protect that interest.

Auto-Owners Ins. Co., 2022 WL 17327497, at *1 (granting proposed defendants’ motion to

intervene and collecting cases).7

       Second, Movants have a cognizable economic interest in the SaveOn product and the

outcome of this litigation. As JJHCS alleges, the SaveOn product is an exclusive Express Scripts

product and “most patients” utilizing the SaveOn product fill prescriptions through Accredo. See

ECF No. 220-1. Several potential rulings in this matter could impact the SaveOn product and

Movants’ clients’ ability to continue utilizing the product, if decided adversely to the product.

United States v. W.R. Grace & Co.-Conn., 185 F.R.D. 184, 189 (D.N.J. 1999) (citing Sierra Club

v. Espy, 18 F.3d 1202, 1207 (5th Cir. 1994)) (finding potential intervenors demonstrate a sufficient

interest to justify intervention as of right where an intervenor’s contractual rights will be adversely

affected). Ultimately, JJHCS cannot dismiss Movant’s interest in the SaveOn product as a “mere

economic interest” considering their relationship with SaveOn, their clients’ utilization of the

product, and the potential impact of substantive rulings on both Movants’ relationship with

SaveOn and their clients that utilize the product. See Kleissler v. U.S. Forest Serv., 157 F.3d 964,

970 (3d Cir. 1998).

       Even if the Court were to find those interests insufficient for a right to intervene, Movants

have a “claim or defense” that has “a question of law or fact in common” with the action, qualifying

for permissive intervention. See King, 981 F.Supp. 2d at 309. The Proposed Amended Complaint



7
  See also Cooley, 2019 WL 11288454, at *3 (granting intervention of right where intervenor
“demonstrated an interest in this matter stemming from Plaintiff’s attempt to join him as a
defendant”); Innovative Biometric Tech., LLC, 2010 WL 11447532, *1 (permitting proposed
defendant’s intervention to respond to the motion to amend).
                                                  14
and original Complaint share three identical claims and numerous overlapping allegations. See

ECF No. 220-1. Indeed, JJHCS appears not to dispute this. See ECF No. 236 at 18-19.

        In either scenario, the motion to intervene is timely. Delay is measured not from the start

of the case, but rather “from the point at which the applicant knew. . . of the risk to his or her rights

or the purported representative’s shortcomings.” Wallach v. Eaton Corp., 837 F.3d 356, 375 (3d

Cir. 2016).8 Here, Movants “had no reason to intervene” until the Proposed Amended Complaint.

Further, Movants moved promptly: just one week after JJHCS moved to amend. Courts have found

no delay up to two months after the triggering event. Hemy v. Perdue Farms, Inc., 2011 WL

6002463, at *7 (D.N.J. Nov. 30, 2011) (Wolfson, J.) (citing Glover v. Ferrero USA, Inc., 2011 WL

5007805, at *3 (D.N.J. Oct. 20, 2011) (Wolfson, J.)).9

        The Court should find Movants can intervene either by right or permissively. Ultimately,

Movants alone have several arguments they can only raise on a motion to amend. Allowing them

to intervene will promote judicial efficiency and avoid significant prejudice.

V.      CONCLUSION

        For the foregoing reasons, Movants respectfully request that this Court grant their motion

to intervene.




8
  Accord Hemy, 2011 WL 6002463, at *7 n.1 (focusing on the date of the administrative closure,
as opposed to the filing of the original complaint, because proposed intervenor “had no reason to
intervene” until then).
9
  See also Red Rock Sourcing LLC v. JGX, LLC, 2023 WL 1468980 (S.D.N.Y. Feb. 2, 2023)
(finding 21 days to seek leave to intervene on plaintiffs’ motion to amend not untimely because
“[u]ntil Plaintiffs obtained leave to move to add the Retail Defendants, [non-party] Rigz had no
need to intervene”); Innovative Biometric Tech., LLC, 2010 WL 11447532, at *1 (finding motion
to intervene timely when it was filed prior to a ruling on the motion to amend).
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                       /s/ Mark A. Berman
                       Mark A. Berman
                       HARTMANN DOHERTY ROSA
                       BERMAN & BULBULIA LLP
                       433 Hackensack Ave. Suite 1002
                       Hackensack, NJ 07601
                       (201) 441-9056
                       Mberman@hdrbb.com

                       Counsel of Record for Movants Accredo Health
                       Group, Inc. and Express Scripts, Inc.

                       Jeremy M. Sternberg*
                       Emily A. Robey-Phillips*
                       Holland & Knight LLP
                       10 St. James Avenue, 11th Floor
                       Boston, MA 02116
                       (617) 523-6850
                       Jeremy.sternberg@hklaw.com
                       Emily.robey-phillips@hklaw.com


                       Counsel for Accredo Health Group, Inc.

                       Sarah C. Hellmann*
                       Christopher A. Smith*
                       Kate Ledden*
                       Husch Blackwell LLP
                       8001 Forsyth Blvd., Suite 1500
                       St. Louis, Missouri 63105
                       (314) 480-1500
                       Fax: (314) 480-1505
                       sarah.hellmann@huschblackwell.com
                       chris.smith@huschblackwell.com
                       kate.ledden@huschblackwell.com


                       Counsel for Express Scripts, Inc.

                       *pro hac vice
Dated: April 8, 2024




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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2024, the foregoing was filed and served via ECF upon

all counsel of record.

                                            /s/ Mark A. Berman
                                            Mark A. Berman




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